      Douglas R. Ricks, OSB #044026
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Debtor




                             IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

       In re                                      Case No. 20-32571-dwh11

       U.S. Outdoor Holding LLC                   MOTION TO WITHDRAW FINAL
                                                  ACCOUNT AND APPLICATION FOR
                                                  ENTRY OF FINAL DECREE AND
                             Debtor.              CLOSING ORDER (DOC 146) AND TO
                                                  SET ASIDE FINAL DECREE (DOC 147)


               Debtor moves the Court for entry of an Order allowing withdrawal of the Final

      Account and Application for Entry of Final Decree and Closing Order (the “Final Account”)

      (Doc 146) and setting aside the Final Decree (Doc 147) entered by this Court on April 15,

      2021 for the reason the Final Account was submitted to the Court in order to ensure

      compliance with LBR 2015-1(b) and the confirmed plan has been substantially

      consummated. However, in light of the Trustee’s preference to keep the case open during

      administration of the plan (Doc 148) and the Debtor’s consent to that approach, the Final

      Decree should be set aside pursuant to FRCP 60(b).



Page 1 of 2     MOTION TO WITHDRAW FINAL ACCOUNT AND APPLICATION FOR             VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
                ENTRY OF FINAL DECREE AND CLOSING ORDER (DOC 146) AND TO           319 SW Washington Street, Suite 520
                SET ASIDE FINAL DECREE (DOC 147)                                      Portland, Oregon 97204-2690
                                                                                             (503) 241-4869



                           Case 20-32571-dwh11      Doc 149    Filed 04/20/21
              WHEREFORE, Debtor requests entry of an Order in the form attached to this Motion

      as Exhibit A allowing withdrawal of the Final Account and setting aside the Final Decree.

                                             VANDEN BOS & CHAPMAN, LLP



                                             By:/s/Douglas R. Ricks
                                                Douglas R. Ricks, OSB #044026
                                                Of Attorneys for Debtor-in-Possession




Page 2 of 2    MOTION TO WITHDRAW FINAL ACCOUNT AND APPLICATION FOR            VANDEN BOS & CHAPMAN, LLP
                                                                                          Attorneys at Law
               ENTRY OF FINAL DECREE AND CLOSING ORDER (DOC 146) AND TO          319 SW Washington Street, Suite 520
               SET ASIDE FINAL DECREE (DOC 147)                                     Portland, Oregon 97204-2690
                                                                                           (503) 241-4869



                         Case 20-32571-dwh11      Doc 149   Filed 04/20/21
                              IN THE UNITED STATES BANKRUPTCY COURT

                                      FOR THE DISTRICT OF OREGON

         In re                                      Case No. 20-32571-dwh11

         U.S. Outdoor Holding LLC                   ORDER RE: MOTION TO WITHDRAW
                                                    FINAL ACCOUNT AND APPLICATION
                                                    FOR ENTRY OF FINAL DECREE AND
                                                    CLOSING ORDER (DOC 146) AND TO
                               Debtor.              SET ASIDE FINAL DECREE (DOC 147)


                 Based on Debtor’s Motion to Withdraw Final Account and Application for Entry of

        Final Decree and Closing Order (Doc 146) and to Set Aside Final Decree (Doc 147); and

        the Court being otherwise fully advised, it is

                 ORDERED that Debtor’s Motion is granted, the Final Account and Application for

        Entry of Final Decree and Closing Order (Doc 146) is treated as withdrawn, and entry of the

        Final Decree (Doc 147) is hereby set aside.

                                                         ###




Page 1 of 2   ORDER RE: MOTION TO WITHDRAW FINAL ACCOUNT AND                        VANDEN BOS & CHAPMAN, LLP
                                                                                               Attorneys at Law
              APPLICATION FOR ENTRY OF FINAL DECREE AND CLOSING ORDER                 319 SW Washington Street, Suite 520
              (DOC 146) AND TO SET ASIDE FINAL DECREE (DOC 147)                          Portland, Oregon 97204-2690
                                                                                                (503) 241-4869
EXHIBIT A - Page 1 of 2
                            Case 20-32571-dwh11          Doc 149   Filed 04/20/21
         PRESENTED BY:                               First Class Mail:

                                                     U.S. Outdoor Holding LLC
         VANDEN BOS & CHAPMAN, LLP                   Attn: Edward A. Ariniello
                                                     600 NW 14th Ave Ste A
         By:/s/Douglas R. Ricks                      Portland, OR 97209
            Douglas R. Ricks, OSB #044026
            Of Attorneys for Debtor

         LBR 9021-1 CERTIFICATION                    Electronic Mail:
         I certify that I have complied with the     The foregoing was served on all CM/ECF
         requirement of LBR 9021-1(a);               participants through the Court's Case
                                                     Management/Electronic Case File system.
         By:/s/Douglas R. Ricks
            Douglas R. Ricks, OSB #044026
            Of Attorneys for Debtor




Page 2 of 2   ORDER RE: MOTION TO WITHDRAW FINAL ACCOUNT AND                     VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
              APPLICATION FOR ENTRY OF FINAL DECREE AND CLOSING ORDER              319 SW Washington Street, Suite 520
              (DOC 146) AND TO SET ASIDE FINAL DECREE (DOC 147)                       Portland, Oregon 97204-2690
                                                                                             (503) 241-4869
EXHIBIT A - Page 2 of 2
                           Case 20-32571-dwh11     Doc 149   Filed 04/20/21
In re U.S. Outdoor Holding LLC
Bankruptcy Case No. 20-32571-dwh11


                               CERTIFICATE - TRUE COPY

DATE:             April 20, 2021

DOCUMENT:         MOTION TO WITHDRAW FINAL ACCOUNT AND APPLICATION
                  FOR ENTRY OF FINAL DECREE AND CLOSING ORDER (DOC 146)
                  AND TO SET ASIDE FINAL DECREE (DOC 147)

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                               CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:

      U.S. Outdoor Holding LLC
      Attn: Edward A. Ariniello
      600 NW 14th Ave Ste A
      Portland, OR 97209

by mailing a copy of the above-named document to each of the above in a sealed
envelope addressed to the last known address. Each envelope was deposited into the
postal system at Portland, Oregon, on the below date, postage prepaid.
      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

 Dated: April 20, 2021                  VANDEN BOS & CHAPMAN, LLP



                                        By:/s/Douglas R. Ricks
                                           Douglas R. Ricks, OSB #044026
                                           Of Attorneys for Debtor




Page 1 – CERTIFICATE OF SERVICE



                    Case 20-32571-dwh11        Doc 149    Filed 04/20/21
